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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )             CASE NO. 1:06cr00058-001
                                              )
       Plaintiff,                             )             JUDGE: JAMES S. GWIN
                                              )
vs.                                           )             ORDER
                                              )
MARIO SANTIAGO,                               )
                                              )
       Defendant.                             )



       This matter was heard on April 30, 2015, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney Gregory Robey.

       The violation report was referred to Magistrate Judge Kenneth S. McHargh. The

Magistrate Judge issued a Report and Recommendation [Doc.75] on April 15, 2015. The Court,

noting that no objections were filed by either party, adopted the Report and Recommendation

and found that the following terms of supervision had been violated:

               1) new law violations / convictions.

       Therefore, the defendant is committed to the Bureau of Prisons for a period of 30 months

with credit for time served since October 15, 2014. Upon release from incarceration defendant’s

federal supervised release shall terminate.
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      The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.

      IT IS SO ORDERED.



Dated: May 1, 2015                               s/ James S. Gwin
                                                 JAMES S. GWIN
                                                 UNITED STATES DISTRICT JUDGE
